               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,                 No.   24-03019-01/04-CR-S-BCW

                            Plaintiff,    COUNTS 1 & 2
       v.                                 (DONTRELL ANTHONY POWELL)
                                          21 U.S.C. §§ 841(a)(1) and (b)(1)(A) and 846
(01) DONTRELL ANTHONY POWELL,             NLT 15 Years Imprisonment
[DOB: 10-23-1989],                        NMT Life Imprisonment
                                          NMT $20,000,000 Fine
(02) WILLIE MURRY, JR.,                   NLT 10 Years Supervised Release
[DOB: 09-10-1982],                        Class A Felony

(03) DRESHAWN POWELL,                     COUNTS 1 & 2
[DOB: 05-12-1997],                        (ALL OTHER DEFENDANTS)
                                          21 U.S.C. §§ 841(a)(1) and (b)(1)(A) and 846
      and                                 NLT 10 Years Imprisonment
                                          NMT Life Imprisonment
(04) MARK MONTA LOGAN,                    NMT $10,000,000 Fine
[DOB: 02-05-1991],                        NLT 5 Years Supervised Release
                                          Class A Felony
                            Defendants.
                                          COUNT 3
                                          18 U.S.C. § 924(c)(1)(A)
                                          NLT 5 Years Imprisonment
Defendants/Counts:                        (Consecutive to All Counts)
(01) Don. Powell: 1-4, 6, 7, and FA       NMT Life Imprisonment
(02) Murry: 1, 2, 5, and FA               NMT $250,000 Fine
(03) Dre. Powell: 1, 2, and FA            NMT 5 Years Supervised Release
(04) Logan: 1, 2, 5, and FA               Class A Felony

                                          COUNT 4
                                          18 U.S.C. §§ 922(g)(1) and 924(a)(8)
                                          NMT 15 Years Imprisonment
                                          NMT $250,000 Fine
                                          NMT 3 Years Supervised Release
                                          Class C Felony

                                          COUNT 5
                                          18 U.S.C. § 1952(a)(3)(A)
                                          NMT 5 Years Imprisonment
                                          NMT $250,000 Fine
                                          NMT 3 Years Supervised Release
                                          Class D Felony




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                                                   COUNT 6
                                                   18 U.S.C. § 1956(a)
                                                   NMT 20 Years Imprisonment
                                                   NMT $500,000 Fine
                                                   NMT 3 Years Supervised Release
                                                   Class C Felony

                                                   COUNT 7
                                                   18 U.S.C. §§ 922(g)(1) and 924(a)(2)
                                                   NMT 10 Years Imprisonment
                                                   NMT $250,000 Fine
                                                   NMT 3 Years Supervised Release
                                                   Class C Felony

                                                   FORFEITURE ALLEGATION
                                                   21 U.S.C. § 853

                                                   PRIOR CONVICTION
                                                   (DONTRELL ANTHONY POWELL)
                                                   21 U.S.C. § 851

                                                   $100 Special Assessment (Each Count)

                                     INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                         COUNT 1
           (Conspiracy to Possess with Intent to Distribute 500 Grams or More of a
         Mixture or Substance Containing a Detectable Amount of Methamphetamine)
                        21 U.S.C. §§ 841(a)(1) and (b)(1)(A) and 846

       Beginning on an unknown date, but at least as early as January 15, 2024, and continuing to

on or about January 18, 2024, said dates being approximate, in Greene County, in the Western

District of Missouri, and elsewhere, the defendants, DONTRELL ANTHONY POWELL,

WILLIE MURRY, JR., DRESHAWN POWELL, and MARK MONTA LOGAN, knowingly

and intentionally conspired and agreed with each other and with others, known and unknown to

the Grand Jury, to possess, with the intent to distribute, 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled



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substance, in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(A), all in

violation of Title 21, United States Code, Section 846.

                                          COUNT 2
 (Attempted Possession with Intent to Distribute 500 Grams or More of a Mixture or Substance
                   Containing a Detectable amount of Methamphetamine)
                       21 U.S.C. §§ 841(a)(1) and (b)(1)(A) and 846

       On or about January 18, 2024, in Greene County, in the Western District of Missouri, the

defendants, DONTRELL ANTHONY POWELL, WILLIE MURRY, JR., DRESHAWN

POWELL, and MARK MONTA LOGAN, knowingly and intentionally attempted to possess,

with intent to distribute, 500 grams or more of a mixture or substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and (b)(1)(A), all in violation of Title 21, United States Code,

Section 846.

                                          COUNT 3
               (Possession of Firearm in Furtherance of Drug Trafficking Crime)
                                   18 U.S.C. § 924(c)(1)(A)

       On or about January 18, 2024, in Greene County, in the Western District of Missouri, the

defendant, DONTRELL ANTHONY POWELL, did knowingly possess firearms, to wit: (1) an

Anderson Manufacturing, AM-15, multi-caliber, semi-automatic pistol, bearing serial number

21270256; and (2) a Glock, 23 Gen 4, .40 caliber semi-automatic pistol, bearing serial number

YME635, in furtherance of drug trafficking crimes for which he may be prosecuted in a court of

the United States, that is, conspiracy to possess with intent to distribute 500 grams or more of a

mixture or substance containing a detectable amount of methamphetamine, as alleged in Count 1,

and attempted possession with intent to distribute 500 grams or more of a mixture or substance

containing a detectable amount of methamphetamine, as alleged in Count 2, in violation of Title

18, United States Code, Section 924(c)(1)(A).

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                                            COUNT 4
                           (Possession of Firearm by Prohibited Person)
                              18 U.S.C. §§ 922(g)(1) and 924(a)(8)

       On or about January 18, 2024, in Greene County, in the Western District of Missouri, the

defendant, DONTRELL ANTHONY POWELL, then knowing he had previously been

convicted of a crime punishable by imprisonment for a term exceeding one year, knowingly

possessed firearms, to wit: (1) an Anderson Manufacturing, AM-15, multi-caliber, semi-automatic

pistol, bearing serial number 21270256; and (2) a Glock, 23 Gen 4, .40 caliber semi-automatic

pistol, bearing serial number YME635, and the firearms were in and affecting interstate commerce,

all in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

                                            COUNT 5
                             (Interstate Travel for Unlawful Activity)
                                    18 U.S.C. § 1952(a)(3)(A)

       Between on or about January 16, 2024, and January 18, 2024, in Greene County, in the

Western District of Missouri, and elsewhere, the defendants, WILLIE MURRY, JR., and MARK

MONTA LOGAN, traveled in interstate commerce from the State of Kansas to the State of

Missouri with the intent to promote, manage, establish, carry on and facilitate the promotion,

management, establishment and carrying on of an unlawful activity, that is, possession with intent

to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1), and thereafter performed and

attempted to perform an act to promote, manage, establish and carry on, and to facilitate the

promotion, management, establishment and carrying on of such unlawful activity, in violation of

Title 18, United States Code, Section 1952(a)(3)(A).

                                        COUNT 6
      (Money Laundering – Financial Transaction to Promote Specified Unlawful Activity)
                               18 U.S.C. § 1956(a)(1)(A)(i)

       On or about January 5, 2024, in Greene County, in the Western District of Missouri, and

elsewhere, the defendant, DONTRELL ANTHONY POWELL, did knowingly and intentionally
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conduct or attempt to conduct a financial transaction affecting interstate commerce, said

transaction involving the proceeds of specified unlawful activity, to wit: the distribution of

methamphetamine, in violation of Title 21, United States Code, Section 841(a)(1), and did so with

the intent to promote the carrying on of specified unlawful activity, and while conducting or

attempting to conduct such financial transaction, knew that the property involved in the financial

transaction represented the proceeds of some form of unlawful activity, in violation of Title 18,

United States Code, Section 1956(a)(1)(A)(i).

                                            COUNT 7
                           (Possession of Firearm by Prohibited Person)
                              18 U.S.C. §§ 922(g)(1) and 924(a)(2)

       On or about June 12, 2022, in Greene County, in the Western District of Missouri, the

defendant, DONTRELL ANTHONY POWELL, then knowing he had previously been

convicted of a crime punishable by imprisonment for a term exceeding one year, knowingly

possessed a firearm, to wit: a Glock, 22 Gen 4, .40 caliber semi-automatic pistol, bearing serial

number YDR143, and the firearm was in and affecting interstate commerce, all in violation of Title

18, United States Code, Sections 922(g)(1) and 924(a)(2).

                                FORFEITURE ALLEGATION

       The allegations contained in Count 1 above are hereby incorporated as though fully set

forth herein for the purpose of charging criminal forfeiture to the United States of America

pursuant to Title 21, United States Code, Section 853.

       As a result of committing the controlled substance offense alleged in Count 1 of this

Indictment, DONTRELL ANTHONY POWELL, WILLIE MURRY, JR., DRESHAWN

POWELL, and MARK MONTA LOGAN, shall forfeit to the United States, pursuant to Title

21, United States Code, Section 853, any and all property constituting, or derived from any

proceeds obtained directly or indirectly, as a result of the said violations, and any property used,
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or intended to be used, in any manner or part, to commit, or to facilitate the commission of the said

violations, including but not limited to a forfeiture money judgment representing proceeds the

defendants personally obtained, directly and indirectly, as a result of their participation in the drug

conspiracy alleged in Count 1.

                                     SUBSTITUTE ASSETS

       If any of the property described above, as a result of any act or omission of the defendants:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided without

               difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p).

                                      PRIOR CONVICTION

       Prior to the commission of the offense charged in this Indictment, the defendant,

DONTRELL ANTHONY POWELL, was convicted of Possession of Dangerous Drugs for Sale,

a Class 2 felony in violation of ARIZONA REVISED STATUTES 13-3407A.2, in the Mohave County,

Arizona, Superior Court, case number CR201400925, which is a serious drug felony for which the

defendant served more than 12 months’ imprisonment and was released from any term of

imprisonment for the same within 15 years of the commencement of the instant offense.




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              All in accordance with Title 21, United States Code, Section 851.



                                           A TRUE BILL



                                           /s/ Kimberley Deardorff
                                           FOREPERSON OF THE GRAND JURY



/s/ Jessica R. Eatmon
JESSICA R. EATMON
Assistant United States Attorney

DATED:      2/6/2024
          Kansas City, Missouri




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